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                                    No. 6:24-cv-00311

                         National Religious Broadcasters et al.,
                                       Plaintiffs,
                                           v.
                          The Internal Revenue Service et al.,
                                      Defendants.


                                        ORDER

                The parties have filed a notice of settlement and joint motion
            to stay all deadlines (Doc. 34) pending court approval of the joint
            motion for entry of a consent judgment (Doc. 35). They represent
            that all matters in controversy between the parties have settled in
            principle. Doc. 34 at 1.
                That motion (Doc. 34) is granted. All deadlines in this case are
            stayed pending this court’s review of the proposed consent judg-
            ment. In light of this order, defendants’ unopposed motion (Doc.
            33) for an extension of time to respond to plaintiffs’ motion for
            partial summary judgment is denied as moot.
                                         So ordered by the court on July 8, 2025.



                                                  J. C A M P BE L L B A R K E R
                                                  United States District Judge




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